  Case 2:24-mj-01036-ADB          Document 8       Filed 06/06/24      Page 1 of 1 PageID: 9


                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA                    )     MAGISTRATE NO. 24-1036
                                            )
    V.                                      )     CRIMINAL ACTION
                                            )
                                            )     ORDER FOR CONTINUANCE
         Michelle Peterson                  )     PRETRIAL DIVERSION
                                            )     PROGRAM
                                            )
This matter having been opened to the Court by
attorney for defendant, for an Order granting a continuance of the above-captioned proceeding to
allow the United States to properly review and process the defendant's application for the Pretrial
Diversion Program, and the Special Assistant United States Attorney, having consented to the form
and entry of this Order, and for good and sufficient cause shown.
    It is on this 6th             day of June                      , 20 24

     ORDERED that this action is continued to August 1st, 2024
for the following reasons:
    1. Defendant is currently under consideration for the Pretrial Diversion Program and time is
necessary for the review and processing of his/her application;

    2. Pursuant to 18 U.S.C. 3161(h)(8), the end of justice served by granting the continuance
outweigh the best interest of the public and the defendant in a Speedy Trial.

    IT IS FURTHER ORDERED that the period between the date of this Order and the continued
date shall be excludable in computing time under the Speedy Trial Act of 1974.
CONSENT:
/s/ Michelle Peterson
Defendant                                                  Honorable Andrea Dechenne Bergman
                                                           U.S. Magistrate Judge
/s/ Andrea Aldana
Defense Counsel                                             June 6, 2024
/s/ Luke Wilson                                                Date
Assistant U.S. Attorney
